                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        DOCKET NO. 3:24-CV-00481-FDW-DCK


 JUSTIN HUBBARD, INDIVIDUALLY )
 AND ON BEHALF OF ALL OTHERS )
 SIMILARLY SITUATED,          )
                              )
           Plaintiff,         )                                          ORDER
                              )
      vs.                     )
                              )
 SOUTHWOOD REALTY COMPANY,    )
                              )
           Defendant.         )
                              )

       THIS MATTER is before the Court by the request of the Parties in this putative Fair Labor

Standards Act (“FLSA”) collective action for Court resolution of a dispute regarding the scope of

discovery preconditional certification. In relevant part, Plaintiff seeks the contact information for

all putative collective members, which is currently defined to include all hourly, non-exempt

employees in various positions nationwide.

       Plaintiff maintains discovery relating to putative collective members is appropriate prior to

conditional certification for purposes of obtaining conditional certification, given the alleged off-

the-clock nature of this claims. Defendant contends Plaintiff’s requests for personal information

and documents relating to all hourly, non-exempt employees nationwide is excessively broad and

unduly burdensome given Named Plaintiff in this action worked for Defendant at one location in

one job title. On October 29, 2024, at a conference with the Court, the Parties, consistent with the

Court’s proposal, agreed to an initial, limited sampling of contact information for randomly

identified putative collective members who worked for Defendant during the relevant time period

in the same job title as Named Plaintiff with additional time and pay records to be produced on an


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as needed basis for purposes of conducting depositions of any putative collective members’ noticed

for deposition. In accordance with this agreement, the Court orders the requested initial discovery

be limited to a sampling of contact information for randomly identified putative collective

members who worked for Defendant during the relevant time period in the same job title as Named

Plaintiff.

         IT IS HEREBY ORDERED that:

        1. Within ten (10) business days of this Order, Defendant shall produce the name

             and last known phone number, email address, and physical address for thirty

             (30) randomly identified individuals who worked for Defendant in the job title

             of “Maintenance Supervisor” at any point since May 15, 2021.

        2. In the event an identified individual is deemed unreachable (i.e., phone number

             disconnected, email messages marked undeliverable, and physical mail

             returned to sender), Defendant shall supplement the original list with a

             replacement putative collective member and contact information.

        3. Defendant shall produce any records related to putative collective members that

             it uses at depositions before any such deposition. Defendant shall also produce

             any employment or business records related to putative collective members it

             uses to oppose Plaintiff’s forthcoming Motion for Conditional Certification.

        4. This Order is without prejudice to Plaintiff’s right to move the Court, consistent

             with the Court’s August 22, 2024, Case Management Order, or any subsequent

             amendments, for additional contact information and discovery for individuals

             who worked in positions other than Maintenance Supervisor before conditional

             certification. Defendant also retains the right to oppose any such motion.



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IT IS SO ORDERED.

                         Signed: November 4, 2024




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